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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE


    In re
                                                                       Chapter 11

    Lordstown Motors Corp., et al.,1                                   Case No. 23-10831 (MFW)


                                                 Debtors.              (Jointly Administered)

                                                                       Objection Deadline: March 7, 2024, at 4:00 p.m. (ET)
                                                                       Hearing Date: March 14, 2024 at 3:00 p.m. (ET)

                COVER SHEETS FOR SECOND INTERIM APPLICATION OF
          SILVERMAN CONSULTING FOR ALLOWANCE OF COMPENSATION AND
               REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM
               OCTOBER 1, 2023 TO AND INCLUDING DECEMBER 31, 2023

        Name of Applicant:                                                                        Silverman Consulting

        Authorized to Provide Professional Services to:                          Debtors and Debtors in Possession

        Date of Retention:                                                                     Effective June 27, 2023

        Period for Which Compensation and                                    October 1, 2023 – December 31, 2023
        Reimbursement Are Requested:

        Total Amount of Compensation (100%):                                                                  $590,997.00

        Amount of Compensation Requested by Prior                                                             $472,797.60
        Monthly Fee Applications (80%):

        Amount of Compensation Held Back from Prior                                                           $118,199.40
        Monthly Fee Applications (20%):

        Total Amount of Expense Reimbursement:                                                                  $29,630.69

        Aggregate Amount of Compensation and                                                                  $620,627.69
        Expense Reimbursement

This is an interim fee application.



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        The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp. (3239);
        Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is 27000 Hills Tech
        Ct., Farmington Hills, MI 48331.

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                                           MONTHLY FEE APPLICATIONS FILED

        (1)      (2)          (3)               (4)        (5)           (6)           (7)        (8)          (9)       (10)
                                                             Approved                                    Total Approved
                                    Requested                                      Holdback
                                                          On Monthly Basis                              By Interim Order
      Date;     Period
                             Fees          Expenses       Fees        Expenses         Fees     Expenses      Fees       Expenses
      D.I.     Covered
  8/22/2023  6/27/2023 $183,620.20 $11,136.91 $146,896.16 $11,136.91 $36,724.04                   $0           $0          $0
   D.I. 291       –
             7/31/2023
  9/25/2023 8/1/2023 $252,638.00 $21,241.92 $202,110.40 $21,241.92 $50,527.60                     $0           $0          $0
   D.I. 468       –
             8/31/2023
                        $222,236.50 $18,921.16 $177,789.20 $18,921.16 $44,447.30
  10/25/2023 9/1/2023 –
   D.I. 616   9/30/2023
                                                                                                  $0           $0          $0
  11/14/2023  6/27/2023       $0                $0         $0            $0            $0         $0       $131,698.94     $0
   D.I. 694       –
              9/30/2023
  11/20/2023 10/1/2023    $249,418.50     $22,515.18   $199,534.80    $22,515.18   $49,883.70     $0           $0          $0
    D.I. 719      –
             10/31/2023
  12/21/2023 11/1/2023    $201,120.50     $5,793.83    $160,896.40    $5,793.83    $40,224.10     $0           $0          $0
    D.I. 853      –
             11/30/2023
              12/1/2023
   1/22/2024                                                                       $28,091.60
                  –       $140,458.00     $1,321.68    $112,366.40    $1,321.68                   $0           $0          $0
    D.I. 927
             12/31/2023




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                           SUMMARY OF TOTAL FEES AND HOURS
                                 BY PROFESSIONALS

                    Name              Title                       Rate      Fee
                                                    Hours                   Amount
        Constadinos D. Tsitsis    Partner                113.50    $525               $59,587.50
        Scott Kohler              Partner                374.50    $525              $196,612.50
        Steven A. Nerger          Partner                 31.50    $350               $11,025.00
        Alex Bauer                Director                10.00    $320                $3,200.00
        Ellen Hammes              Associate              398.30    $290              $115,507.00
        Michael Mollerus          Associate              250.00    $270               $67,500.00
        Alex Crnkovich            Associate              509.50    $270              $137,565.00
        Grand Total                                    1,687.30   350.26             $590,997.00




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               STATEMENT OF FEES AND EXPENSES BY PROJECT CATEGORY

            Cat. No.            Project Category Description            Total Hours      Total Fees
              1-1       Preparation of Budgets, Availability Reports,          151.30        $44,360.50
                        Business Evaluation and Flash Reports
              1-2       Preparation of Financial Data to Support              166.70            $58,730.00
                        Motions
              1-3       Preparation of Financial Projections                     3.60           $986.00
              1-5       Preparation of Plan and Disclosure Statement            16.60         $5,754.00
              2-1       Daily Management and Operations                        156.60        $54,684.00
              2-4       Sale of Company matters                                 14.20         $7,455.00
              4-2       Case Administration                                  1,081.40       $385,666.00
              4-3       Monthly Operating Reports                               44.90        $14,968.00
              4.5       Fee Application Preparation                             52.00        $18,393.50
                               Grand Total                                   1,687.30       $590,997.00




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                               EXPENSE SUMMARY

                 Description                      Bill Amount
                 Administrative                           $2,324.16
                 Airfare                                  $9,325.44
                 Meals                                    $2,705.43
                 Lodging                                  $9,133.40
                 Transportation                           $6,142.26
                 Grand Total                             $29,630.69




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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE


    In re
                                                                    Chapter 11

    Lordstown Motors Corp., et al.,1                                Case No. 23-10831 (MFW)

                                                                    (Jointly Administered)
                                                 Debtors.
                                                                    Objection Deadline: March 7, 2024, at 4:00 p.m. (ET)



                       SECOND INTERIM APPLICATION OF
          SILVERMAN CONSULTING FOR ALLOWANCE OF COMPENSATION AND
               REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM
               OCTOBER 1, 2023 TO AND INCLUDING DECEMBER 31, 2023

                In accordance with the Order Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Chapter 11 Professionals and Committee Members [Docket No.

181] (the “Interim Compensation Procedures”), Silverman Consulting (“Silverman”),

restructuring advisors for the debtors and the debtors in possession (collectively, the “Debtors”)

in the above-captioned chapter 11 case, hereby files this second interim application (this

“Application”) for the period from October 1, 2023 to and including December 31, 2023 (the

“Application Period”) requesting (a) interim allowance and payment of $620,627.69, consisting

of (i) compensation for professional services to the Debtors in the amount of $590,997.00,

representing 100% of the fees earned by Silverman for professional services to the Debtors during

the Application Period, and (ii) reimbursement of 100% of the actual and necessary expenses

incurred by Silverman during the Application Period in connection with such services in the

amount of $29,630.69, without prejudice to Silverman’s right to seek additional compensation for


1
        The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp. (3239);
        Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is 27000 Hills Tech
        Ct., Farmington Hills, MI 48331.


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services performed and expenses incurred during the Application Period, if any, which were not

processed at the time of this Application, and (ii) such other and further relief as is just and proper.

             Specifically, Silverman requests that the Court award interim allowance of the

compensation and reimbursement expenses that were the subject of the following Monthly Fee

Applications (as defined below) that covered the Application Period.

             On November 20, 2023, Silverman filed its fourth monthly fee application (the “Fourth

Monthly Fee Application,”) for the period of October 1, 2023 to and including October 31, 2023

[Docket No. 719]. Pursuant to the Interim Compensation Procedures, Silverman has been paid

$222,049.98, representing $199,534.80 (80% of the $249,418.50 of fees earned) and $22,515.18

in expenses, and $49,883.70 in fees have been held back.

             On December 21, 2023, Silverman filed its fifth monthly fee application (the “Fifth

Monthly Fee Application”) for the period of November 1, 2023 to and including November 30,

2023 [Docket No. 853]. Pursuant to the Interim Compensation Procedures, Silverman has been

paid $166,690.23, representing $160,896.40 (80% of the $201,120.50 of fees earned) and

$5,793.83 in expenses, and $40,224.10 in fees will have been held back.

             On January 22, 2024, Silverman filed its sixth monthly fee application (the “Sixth Monthly

Fee Application,”) for the period of December 1, 2023 to and including December 31, 2023

[Docket No. 927]. Pursuant to the Interim Compensation Procedures, Silverman has been paid

$113,688.08, representing $112,366.40 (80% of the $140,458.00 of fees earned) and $1,321.68 in

expenses, and $28,091.60 in fees will have been held back.

             As set forth in the Monthly Fee Applications, the compensation and reimbursement

expenses that were the subject of the Monthly Fee Applications reflected voluntary reductions

made by Silverman before filing of, in the aggregate, $70,389.50 in fees and $0 in expenses.


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             WHEREFORE, Silverman requests the entry of an order granting (a) interim allowance

and payment of $620,627.69, consisting of (i) compensation for professional services to the

Debtors in the amount of $590,997.00, representing 100% of the fees earned by Silverman for

professional services to the Debtors during the Application Period, and (ii) reimbursement of 100%

of the actual and necessary expenses incurred by Silverman during the Application Period in

connection with such services in the amount of $29,630.69, without prejudice to Silverman’s right

to seek additional compensation for services performed and expenses incurred during the

Application Period, if any, which were not processed at the time of this Application, and (b) such

other and further relief as is just and proper



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Dated: February 9, 2024
       Chicago, Illinois
                                       Respectfully submitted,

                                       SILVERMAN CONSULTING

                                       /s/Constadinos D. Tsitis
                                       Constadinos D. Tsitsis
                                       Partner




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